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First Name and      Last Name   Street Address   City     State    Zip Code    Reserved    Form of        Amount of        Date of       For           Pertinent
middle initial of                                                                          agreement/     claim of         acquisition   personal      facts &
creditor/equity                                                                            instrument     creditor if      of            injury        circum-
security holder                                                                            empowering     liquidated       creditor’s    claimants,    stances
                                                                                           entity to      (claim is        claim if      type of       regarding
                                                                                           act on         presumed to be   acquired      disease       employ-
                                                                                           behalf of      unliquidated     within 1      and for all   ment of
                                                                                           creditors or   if blank)        year prior    other         counsel
                                                                                           equity                          to date of    claimants,    or inden-
                                                                                           security                        filing of     the nature    ture
                                                                                           holders                         bankruptcy    of the        trustee,
                                                                                                                           4/2/01        claim or      and, in
                                                                                                                                         interest      the case
                                                                                                                                                       of a
                                                                                                                                                       committee,
                                                                                                                                                       the name
                                                                                                                                                       or names
                                                                                                                                                       of the
                                                                                                                                                       entity at
                                                                                                                                                       whose in-
                                                                                                                                                       stance
                                                                                                                                                       directly or
                                                                                                                                                       indirectly
                                                                                                                                                       the
                                                                                                                                                       employ-
                                                                                                                                                       ment was
                                                                                                                                                       arranged
                                                                                                                                                       or
                                                                                                                                                       the
                                                                                                                                                       committee
                                                                                                                                                       was
                                                                                                                                                       organized
                                                                                                                                                       or agreed
                                                                                                                                                       to act
                                                                                                                                                       (reference
                                                                                                                                                       additional
                                                                                                                                                       exhibits if
                                                                                                                                                       necessary)
